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From:          Shelnitz, Mark
Sent:          Tuesday, November 9, 2004 6:32 PM
To:            Siegel, David
Cc:            Finke, Richard
Subject:       GUCs Support


The GUCs position after their meeting today is that they wil not sign on to the Plan unless they
get default interest compounded quarterly. We wil discuss our position tomorrow in a con call
with K&E and Blackstone. The GUC's position would add about $10 milion per year of
interest plus an additional amount for compounding. Pam doesn't think it's worth it but we will
need to get K&E's view. We are targeting noon for the call but haven't yet heard what K&E's
availabilty is. I will leave you a voice-mail with the call-in number and time when i can confirm
everyone's availability.

Mark




                                                                                          DR01448
